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 4                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 5                                   AT TACOMA

 6      COUNTRY MUTUAL INSURANCE
        COMPANY,                                       Case No. C20-5337 TLF
 7
                                Plaintiff,             ORDER REGARDING INITIAL
 8             v.                                      DISCLOSURES, JOINT STATUS
                                                       REPORT, AND EARLY
 9      EVERGREEN LANDING LLC,                         SETTLEMENT

10                              Defendants.

11
                                I. INITIAL SCHEDULING DATES
12
           The Court sets the following dates for initial disclosure and submission of the
13
     Joint Status Report and Discovery Plan:
14
           Deadline for FRCP 26(f) Conference:             Monday, June 29, 2020
15
           Initial Disclosures Pursuant to FRCP 26(a)(1): Monday, July 6, 2020
16
           Combined Joint Status Report and Discovery
17         Plan as Required by FRCP 26(f)
           and Local Civil Rule 26(f):                     Monday, July 13, 2020
18

19
           The deadlines above may be extended only by the Court. Any request for an
20
     extension should be made by e-mail to Traci Whiteley, Courtroom Deputy, at
21
     traci_whiteley@wawd.uscourts.gov. If Defendants have appeared, the parties are
22
     directed to meet and confer before contacting the Court to request an extension.
23

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 1          If this case involves claims which are exempt from the requirements of FRCP

 2   26(a) and 26(f), please notify Traci Whiteley, Courtroom Deputy, by email at

 3   traci_whiteley@wawd.uscourts.gov.

 4                         II. ASSIGNMENT TO MAGISTRATE JUDGE

 5          This case has been initially assigned to Magistrate Judge Theresa L. Fricke. This

 6   assignment will become final only if all parties consent to the jurisdiction of the

 7   Magistrate Judge.

 8          This District has adopted an “opt out” procedure for assignment of civil cases to a

 9   Magistrate Judge. See Amended General Order 02-19 dated April 5, 2019, available on

10   the Court’s website, https://www.wawd.uscourts.gov/general-orders-current.

11          Before all parties have entered a notice of appearance or have otherwise

12   appeared, any party may notify Traci Whiteley, Courtroom Deputy, by email at

13   traci_whiteley@wawd.uscourts.gov. to opt out of the assignment to the Magistrate

14   Judge.

15          After all parties have entered a notice of appearance or have otherwise

16   appeared, the Court will send a “Declination of Consent” notice to each party. In

17   accordance with the Amended General Order 02-19, each party will have seven days

18   from the date of the “Declination of Consent” notice to decide whether to opt out. If they

19   do not opt out, then upon expiration of the 7-day period they will be deemed to have

20   consented to the jurisdiction of the Magistrate Judge.

21          If any party opts out of the assignment to the Magistrate Judge, then pursuant to

22   Amended General Order 02-19, the case will be assigned to a District Court Judge. If a

23   party decides to opt out, the Magistrate Judge will not have access to any information

24   that would identify any party or parties that opted out. Regardless whether any party

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 1   opts out, all parties will be required to meet the deadlines stated above, and follow the

 2   procedures described below.

 3                      III. JOINT STATUS REPORT & DISCOVERY PLAN

 4          All counsel and any pro se parties are directed to confer and provide the Court

 5   with a combined Joint Status Report and Discovery Plan (the “Report”) by Monday, July

 6   13, 2020. This conference shall be by direct and personal communication, preferably a

 7   face-to-face meeting, but may be by a telephonic conference. The Report will be used

 8   to set a schedule for the prompt completion of the case.

 9          The Report must contain the following information by corresponding paragraph

10   numbers:

11          1.     A statement of the nature and complexity of the case.

12          2.     A proposed deadline for joining additional parties.

13          3.     A discovery plan that states, by corresponding paragraph letters (A, B,

14   etc.), the parties’ views and proposals on all items set forth in Fed. R. Civ. P. 26(f)(3),

15   which includes the following topics:

16          (A)    initial disclosures;

17          (B)    subjects, timing, and potential phasing of discovery;

18          (C)    electronically stored information;

19          (D)    privilege issues;

20          (E)    proposed limitations on discovery; and

21          (F)    the need for any discovery related orders.

22          4.     The parties’ views, proposals, and agreements, by corresponding

23   paragraph letters (A, B, etc.), on all items set forth in Local Civil Rule 26(f)(1), which

24   includes the following topics:

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 1          (A)    prompt case resolution;

 2          (B)    alternative dispute resolution;

 3          (C)    related cases;

 4          (D)    discovery management;

 5          (E)    anticipated discovery sought;

 6          (F)    phasing motions;

 7          (G)    preservation of discoverable information;

 8          (H)    privilege issues;

 9          (I)    Model Protocol for Discovery of ESI; and

10          (J)    alternatives to Model Protocol.

11          5.     The date by which discovery can be completed.

12          6.     Whether the case should be bifurcated by trying the liability issues before

13   the damages issues, or bifurcated in any other way.

14          7.     Whether the pretrial statements and pretrial order called for by Local Civil

15   Rules 16(e), (h), (i), and (k), and 16.1 should be dispensed with in whole or in part for

16   the sake of economy.

17          8.     Whether the parties intend to utilize the Individualized Trial Program set

18   forth in Local Civil Rule 39.2 or any ADR options set forth in Local Civil Rule 39.1.

19          9.     Any other suggestions for shortening or simplifying the case.

20          10.    The date the case will be ready for trial. The Court expects that most civil

21   cases will be ready for trial within a year after filing the Joint Status Report and

22   Discovery Plan.

23          12.    Whether the trial will be jury or non-jury.

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 1          13.     The number of trial days required.

 2          14.     The names, addresses, and telephone numbers of all trial counsel.

 3          15.     The dates on which trial counsel may have complications to be considered

 4   in setting a trial date.

 5          16.     If, on the due date of the Report, all defendant(s) or respondent(s) have

 6   not been served, counsel for the plaintiff shall advise the Court when service will be

 7   effected, why it was not made earlier, and shall provide a proposed schedule for the

 8   required FRCP 26(f) conference and FRCP 26(a) initial disclosures.

 9          17.     Whether any party requests a pretrial Fed. R. Civ. P. 16 conference with

10   the Judge before entry of any order under Rule 16 or setting the schedule in the case. If

11   any party requests such a conference, indicate whether the request is for an in-person

12   conference, or by phone.

13          18.     List the date(s) that each and every nongovernmental corporate party filed

14   its disclosure statement pursuant to Fed. R. Civ. P. 7.1 and Local Civil Rule 7.1.

15          If the parties are unable to agree on any part of the Report, they may answer in

16   separate paragraphs. No separate reports are to be filed. If the parties wish to have a

17   status conference with the Court at any time during the pendency of this action, they

18   should notify Traci Whiteley by email at traci_whiteley@wawd.uscourts.gov.

19                               IV. PLAINTIFF'S RESPONSIBILITY

20          This Order is issued at the outset of the case, and a copy is sent by the clerk to

21   counsel for plaintiff (or plaintiff, if pro se) and any defendants who have appeared.

22   Plaintiff's counsel (or plaintiff, if pro se) is directed to serve copies of this Order on all

23   parties who appear after this Order is filed. Such service shall be accomplished within

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 1   ten (10) days after each appearance. Plaintiff's counsel (or plaintiff, if pro se) will be

 2   responsible for starting the communications needed to comply with this Order.

 3                    V. JUDGE SPECIFIC PROCEDURAL INFORMATION

 4          All counsel and unrepresented parties should review Judge Fricke’s web page for

 5   procedural information applicable to cases before Judge Fricke. The Judges’ web

 6   pages, in addition to the Local Rules, Electronic Filing Procedures for Civil and Criminal

 7   Cases, court forms, instruction sheets, and General Orders, can be found on the Court’s

 8   website at wawd.uscourts.gov.

 9             VI. EARLY SETTLEMENT CONSIDERATION AND NOTIFICATION

10          If settlement is achieved, counsel shall immediately notify Traci Whiteley,

11   Courtroom Deputy, at traci_whiteley@wawd.uscourts.gov.

12          Each of the parties is responsible for complying with the terms of this Order. The

13   Court may impose sanctions on any party that fails to full comply with this Order.

14          Dated this 13th day of April, 2020.

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17                                                     A
                                                       Theresa L. Fricke
18                                                     United States Magistrate Judge

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